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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 12-cr-52-PB

Edward Keating, et al.



                               O R D E R


     The defendant has moved to continue the June 5, 2012 trial

in the above case, citing newly appointed counsel and the need

for additional time to complete discovery and prepare a defense.

The government and co-defendant, Ian Fitzmorris, do not object

to a continuance of the trial date.

     Accordingly, for the above reason and in order to allow the

parties additional time to properly prepare for trial, the court

will continue the trial from June 5, 2012 to August 21, 2012.

In agreeing to continue the trial, the court finds pursuant to

18 U.S.C.A. ' 3161(h)(7)(A) that for the above-stated reasons,

the ends of justice served in granting a continuance outweigh

the best interests of the public and the defendants in a speedy

trial.
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      The May 29, 2012 final pretrial conference is continued to

August 1, 2012 at 4:15 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

May 18, 2012

cc:   David H. Bownes, Esq.
      Jonathan Saxe, Esq.
      Debra M. Walsh, AUSA
      United States Marshal
      United States Probation




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